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                                                UNITED STATES DISTRICT COURT
                                               CENTRAL DISTRICT OF CALIFORNIA

  UNITED STATES OF AMERICA,                                            Case Number: 2:19-MJ-03937-1
                                                          Plaintiff,
                                 vs.
                                                                         NOTICE DIRECTING DEFENDANT TO APPEAR FOR
  Edward Buck                                                            PRELIMINARY HEARING AND FOR ARRAIGNMENT
                                                       Defendant.               ON INDICTMENTQNFORMATION




         YOU ARE HEREBY NOTI ED AN                DIRECTED to appear before United States Magistrate Judge
                                                                               United States Courthouse located at:

       -. estern Division                    C3 So them Division                            ~l Eastern Division
         255 E. Temple Street                   411 W. Fourth Street                           3470 Twelfth Street
         Courtroom 341, 3rd Floor               Courtroom                       Floor          Courtroom                      Floor
         Los Angeles, CA 90012                  Santa Ana, CA 92701                            Riverside, CA 92501

         at               D ~' AM / ~?'PM on            /~ ~ 3~ ~ ~                     ,for your Preliminary Hearing. You are
         hereby dir            pear on this date unles
                                                   ou   sy are informed that an indictment or information is filed against you in
         the U.S. District Court prior to the date set forth herein.

         If an indictment or information has been filed, YOU ARE NOTIFI          A      D    CTED to appear without further
         notice before United States Magistrate Judge                                                          ,United States
         Courthous located at:

            stern Division                   - Southern Division                            ~ Eastern Division
         255 E. Temple Street                  411 W. Fourth Street                           3470 Twelfth Street
         Courtroom 341, 3rd Floor              Courtroom                        Floor         Courtroom                       Floor
         Los Angeles,0190012                   Santa Ana, CA 92701                            Riverside, CA 92501

           ~
         at/~    'v=          z. AM / i~~ PM on        f ~~ ~ ~ ~'~ ~at which time you shall be arraigned on
         tt~ indictment /information. Upon arraignmen ,your case will be assigned to a Judge of this Court before whom you
         must be prepared to appear on the same day and enter a plea.

         If you have retained your own attorney, he or she must be present with you on the date ordered above. If you do not
         have an attorney, an attorney will be appointed to represent you at the time, provided you are without sufficient funds to
         retain a private attorney.

         IF YOU FAIL TO APPEAR AT THE DATE,TIME AND PLACE INDICATED,YOUR PRESENT BOND
         WILL BE FORFEITED AND THE COURT WILL ISSUE A WARRANT FOR YOUR ARREST.

         NOTE: Your case may be assigned for further proceedings in a division different from the one indicated above. If so,
         a notice will be mailed to you and your attorney; therefore, keep in close contact with your attorney so you will not
         waste time and effort by going to the wrong location.

                                                                         Clerk, U.S. D' trict Court



              Filed &Dated:   ~         /~~/                           By:

                                                                         Magistrate Judge Courtroom Deputy Clerk




M-60(06/07)                    NOTICE DIRECTING DEFENDANT TO APPEAR FOR PRELIMINARY HEARING AND FOR                                   Page 1 of I
                                              ARRAIGNMENT ON INDICTMENT/INFORMATION
